                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

NATIONAL GREEN GAS L.L.C.,                )
A Minnesota limited liability company     )                 JURY TRIAL DEMANDED
                                          )
     Plaintiff,                           )
                                          )
v.                                        )                 Case No.: 4:18-CV-00285-BCW
                                          )
ESTRATEGY, INC., a corporation,           )
BRIAN L. SEXTON and JAMILA                )
ALDASHEVA, individuals, d/b/a ONE SALUTE, )
                                          )
     Defendants.                          )


                       DEFENDANT ESTRATEGY’S CORPORATE
                            OWNERSHIP STATEMENT

       This Certificate of Interest is filed on behalf Defendant ESTRATEGY, INC in

compliance with Federal Rule of Civil Procedure 7.

       ESTRATEGY, INC hereby declares that it is a Delaware corporation with no parent

corporation or subsidiaries or affiliates. No publicly owned corporation owns 10% or more of

ESTRATEGY, INC.



                                                     SCHULTZ & ASSOCIATES LLP

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                                 CERTIFICATE OF SERVICE

        I certify that on January 11, 2019, the foregoing was filed electronically with the Court’s
electronic filing system upon all registered counsel of record.

                                                      /s/ Robert Schultz




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